33 F.3d 51
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ricky Ricardo HARRIS, Plaintiff Appellant,v.William Donald SCHAEFER;  Bishop L. Robinson;  Richard L.Lanham;  Robert Harleston;  Eric Sohr, M.D.;Terry Savage;  Thomas Corcoran;  LenoraJones;  D. Cooper, Defendants Appellees.
    No. 94-6411.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 19, 1994.Decided August 10, 1994.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Edward S. Northrop, Senior District Judge.  (CA-93-1229-N)
      Ricky Ricardo Harris, appellant Pro Se.
      John Joseph Curran, Jr., Atty. Gen., Stephanie Judith Lane-Weber, Asst. Atty. Gen., Baltimore, MD, Philip Melton Andrews, Regina M. Dufresne, Kramon &amp; Graham, P.A., Baltimore, MD, for appellees.
      D.Md.
      AFFIRMED.
      Before HALL, LUTTIG and WILLIAMS, Circuit Judges.
    
    PER CURIAM
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Harris v. Schaefer, No. CA-93-1229-N (D. Md. Mar. 22, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    